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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                         )
                                                     )
                       Plaintiff,                    )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No.
GAZMAN HOLDINGS, L.L.C.,                             )
                                                     )
                       Defendant.                    )

                                         COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, GAZMAN HOLDINGS, L.L.C., pursuant to the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                            PARTIES

       2.      Plaintiff, ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.



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       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property within six months after it is accessible (“Advocacy Purposes”).

       7.      Defendant,      GAZMAN          HOLDINGS,      L.L.C.    (hereinafter    “GAZMAN

HOLDINGS, L.L.C.”), is a Texas limited liability corporation that transacts business in the State

of Texas and within this judicial district.

       8.      Defendant, GAZMAN HOLDINGS, L.L.C., may be properly served with process

for service via its Registered Agent, to wit:     c/o George Michael Nassif, Registered Agent,

11839 Mighty Redwood, Houston, TX 77059.

                                   FACTUAL ALLEGATIONS

       9.      On or about July 4, 2020, Plaintiff was a customer at “Billy’s Donuts” a business

located at 4616 Broadway Street, Pearland, TX 77581, referenced herein as “Billy’s Donuts”.

Attached is a receipt documenting Plaintiff’s purchase. See Exhibit 1. Also attached is a

photograph documenting Plaintiff’s visit to the Property. See Exhibit 2.

       10.     Defendant, GAZMAN HOLDINGS, L.L.C., is the owner or co-owner of the real

property and improvements that Billy’s Donuts is situated upon and that is the subject of this

action, referenced herein as the “Property.”



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       11.     Plaintiff lives 15 miles from the Property.

       12.     Plaintiff’s access to the business(es) located 4616 Broadway Street, Pearland, TX

77581, Harris County Property Appraiser’s property identification number 165706 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, GAZMAN HOLDINGS, L.L.C., is compelled to remove the physical barriers to

access and correct the ADA violations that exist at the Property, including those set forth in this

Complaint.

       13.     Defendant GAZMAN HOLDINGS, L.L.C., as property owner, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant GAZMAN HOLDINGS, L.L.C. and the tenant

allocating responsibilities for ADA compliance within the unit the tenant operates, that lease is

only between the property owner and the tenant and does not abrogate the Defendant’s

independent requirement to comply with the ADA for the entire Property it owns, including the

interior portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       14.     Plaintiff has visited the Property at least once before as a customer and advocate

for the disabled. Plaintiff intends on revisiting the Property within six months after the barriers

to access detailed in this Complaint are removed and the Property is accessible again. The

purpose of the revisit is to be a return customer, to determine if and when the Property is made

accessible and to maintain standing for this lawsuit for Advocacy Purposes.

       15.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes, but does not intend



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to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          16.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

                                        COUNT I
                            VIOLATIONS OF THE ADA AND ADAAG

          17.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

          18.     Congress found, among other things, that:

          (i)     some 43,000,000 Americans have one or more physical or mental
                  disabilities, and this number is increasing as the population as a whole is
                  growing older;

          (ii)    historically, society has tended to isolate and segregate individuals with
                  disabilities, and, despite some improvements, such forms of discrimination
                  against individuals with disabilities continue to be a serious and pervasive
                  social problem;

          (iii)   discrimination against individuals with disabilities persists in such critical
                  areas as employment, housing public accommodations, education,
                  transportation, communication, recreation, institutionalization, health
                  services, voting, and access to public services;

          (iv)    individuals with disabilities continually encounter various forms of
                  discrimination, including outright intentional exclusion, the discriminatory
                  effects of architectural, transportation, and communication barriers,
                  overprotective rules and policies, failure to make modifications to existing
                  facilities and practices, exclusionary qualification standards and criteria,
                  segregation, and relegation to lesser service, programs, activities, benefits,
                  jobs, or other opportunities; and

          (v)     the continuing existence of unfair and unnecessary discrimination and


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               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       19.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       20.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       21.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       22.     The Property is a public accommodation and service establishment.

       23.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of



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$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       26.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       27.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       28.     Defendant, GAZMAN HOLDINGS, L.L.C., has discriminated against Plaintiff

(and others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       29.     Defendant, GAZMAN HOLDINGS, L.L.C., will continue to discriminate against



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Plaintiff and others with disabilities unless and until Defendant, GAZMAN HOLDINGS, L.L.C.,

is compelled to remove all physical barriers that exist at the Property, including those

specifically set forth herein, and make the Property accessible to and usable by Plaintiff and

other persons with disabilities.

       30.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     Inside Billy’s Donuts, there are sales and services counters lacking any portion of

               the counter that has a maximum height of 36 (thirty-six) inches from the finished

               floor in violation of Section 904.4 of the 2010 ADAAG standards, all portions of

               the sales and service counter exceed 36 (thirty-six) inches in height from the

               finished floor. This violation would make it difficult for Plaintiff to properly

               transact business at the Property.

       (ii)    Near Billy’s Donuts, the Property has an accessible ramp leading from the

               accessible parking space to the accessible entrances with a slope exceeding 1:12

               in violation of Section 405.2 of the 2010 ADAAG standards. This violation would

               make it dangerous and difficult for Plaintiff to access the units of the Property.

       (iii)   Near Billy’s Donuts, due to a policy of not having parking stops for the parking

               spaces adjacent to the accessible parking space, cars routinely pull up all the way

               to the curb and the "nose" of the vehicle extends into the access route causing the



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         exterior access route to routinely have clear widths below the minimum thirty-six

         (36") inch requirement specified by Section 403.5.1 of the 2010 ADAAG

         Standards. This violation would make it dangerous and difficult for Plaintiff to

         access exterior public features of the Property.

 (iv)    Near Billy’s Donuts, due to a policy of not having parking stops for the parking

         spaces adjacent to the accessible parking space, cars routinely pull up all the way

         to the curb and the "nose" of the vehicle extends into the access route as a result,

         in violation of Section 502.7 of the 2010 ADAAG Standards, parking spaces are

         not properly designed so that parked cars and vans cannot obstruct the required

         clear width of adjacent accessible routes.

 (v)     Near Unit 4616H, the accessible parking space is missing a proper identification

         sign in violation of Section 502.6 of the 2010 ADAAG standards. This violation

         would make it difficult for Plaintiff to locate an accessible parking space.

 (vi)    Near Unit 4616H, the Property lacks an accessible route from accessible parking

         space to the accessible entrance of the Property in violation of Section 208.3.1 of

         the 2010 ADAAG standards. This violation would make it difficult for Plaintiff to

         access the units of the Property.

 (vii)   Near Unit 4616, due to a policy of not having parking stops for the parking spaces

         directly adjacent to the exterior access route, cars routinely pull up all the way to

         the curb and the "nose" of the vehicle extends into the access route causing the

         exterior access route to routinely have clear widths below the minimum thirty-six

         (36") inch requirement specified by Section 403.5.1 of the 2010 ADAAG




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          Standards. This violation would make it dangerous and difficult for Plaintiff to

          access exterior public features of the Property.

 (viii)   Near Unit 4616, due to a policy of not having parking stops for the parking spaces

          directly adjacent the exterior access route, cars routinely pull up all the way to the

          curb and the "nose" of the vehicle extends into the access route as a result, in

          violation of Section 502.7 of the 2010 ADAAG Standards, parking spaces are not

          properly designed so that parked cars and vans cannot obstruct the required clear

          width of adjacent accessible routes.

 (ix)     Near Unit 4616, due to a policy of placing tables in the accessible route, there are

          publicly accessible areas of the Property having accessible routes with clear

          widths below the minimum 36 (thirty-six) inch requirement as required by

          Section 403.5.1 of the 2010 ADAAG standards. This violation would make it

          dangerous and difficult for Plaintiff to access exterior public features of the

          Property. (Also add below)

 (x)      Throughout the Property, due to a policy of placing tables and other obstacles in

          the exterior accessible route coupled with the lack of parking stops allowing

          vehicles to routinely pull up and block the exterior accessible route in violation of

          section 502.7 of the 2010 ADAAG Standards, the Property lacks a single

          accessible route connecting accessible facilities, accessible elements and/or

          accessible spaces of the Property in violation of Section 206.2.2 of the 2010

          ADAAG standards. This violation would make it difficult for Plaintiff to access

          public features of the Property.




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 (xi)     Near Unit 4616, the accessible ramp servicing near by accessible parking space,

          lacks a clear and level landing at the top of the accessible ramp due to the close

          vicinity of a wall less than 36 inches from the top of the ramp in violation of

          Section 406.4 of the 2010 ADAAG standards. This violation would make it

          dangerous and difficult for Plaintiff to access the units of the Property.

 (xii)    Near Unit 4616, due to the lack of a clear and level landing for the accessible

          ramp, the surfaces of the accessible route have a turning space with surface slopes

          in excess of 1:48 in violation of Section 304.2 of the 2010 ADAAG standards.

          This violation would make it dangerous and difficult for Plaintiff to access the

          units of the Property.

 (xiii)   Defendant fails to adhere to a policy, practice and procedure to ensure that all

          facilities are readily accessible to and usable by disabled individuals.

 BILLY’S DONUTS RESTROOMS

 (i)      The restroom lacks signage in compliance with Sections 216.8 and 703 of the

          2010 ADAAG standards. This would make it difficult for Plaintiff and/or any

          disabled individual to locate accessible restroom facilities.

 (ii)     The restrooms lack proper door hardware in violation of Section 404.2.7 of the

          2010 ADAAG standards. This would make it difficult for Plaintiff and/or any

          disabled individual to utilize the restroom facilities.

 (iii)    The door exiting the men’s restroom lacks a proper minimum maneuvering

          clearance in violation of Section 404.2.4 of the 2010 ADAAG standards. This

          made it difficult for Plaintiff and/or any disabled individual to safely utilize the

          restroom facilities.



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 (iv)     The grab bars/handrails adjacent to the commode are missing and violate Section

          604.5 of the 2010 ADAAG standards. This would make it difficult for Plaintiff

          and/or any disabled individual to safely utilize the restroom facilities.

 (v)      The hand operated flush control is not located on the open side of the accessible

          toilet in violation of Section 604.6 of the 2010 ADAAG standards. This would

          make it difficult for Plaintiff and/or any disabled individual to safely utilize the

          restroom facilities.

 (vi)     The controls on the faucets require pinching and turning of the wrists in violation

          of Section 309.4 of the 2010 ADAAG standards. This would make it difficult for

          Plaintiff and/or any disabled individual to utilize the restroom facilities.

 (vii)    The lavatories and/or sinks in the restrooms have exposed pipes and surfaces and

          are not insulated or configured to protect against contact in violation of Section

          606.5 of the 2010 ADAAG standards. This would make it difficult for Plaintiff

          and/or any disabled individual to safely utilize the restroom facilities.

 (viii)   The mirror in the bathrooms exceeds the maximum height permitted by Section

          603.3 of the 2010 ADAAG standards. This violation would make it difficult for

          the Plaintiff and/or any disabled individual to properly utilize public features of

          the restroom.

 (xiv)    The actionable mechanism of the paper towel dispenser in the restroom is located

          outside the prescribed vertical reach ranges set forth in Section 308.2.1 of the

          2010 ADAAG standards. This would make it difficult for Plaintiff and/or any

          disabled individual to safely utilize the restroom facilities.




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       31.       The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       32.       Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       33.       The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       34.       All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       35.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       36.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, GAZMAN

HOLDINGS, L.L.C., has the financial resources to make the necessary modifications.

According to the Property Appraiser, the Appraised value of the Property is $554,530.00.

       37.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.

       38.       Upon information and good faith belief, the Property has been altered since 2010.

       39.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with



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the 1991 ADAAG standards.

         40.   Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

GAZMAN HOLDINGS, L.L.C., is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Property, including those alleged herein.

         41.   Plaintiff’s requested relief serves the public interest.

         42.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, GAZMAN HOLDINGS, L.L.C.

         43.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, GAZMAN HOLDINGS, L.L.C., pursuant to 42 U.S.C. §§ 12188 and

12205.

         44.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, GAZMAN

HOLDINGS, L.L.C., to modify the Property to the extent required by the ADA.

         WHEREFORE, Plaintiff prays as follows:

         (a)   That the Court find Defendant, GAZMAN HOLDINGS, L.L.C., in violation of

               the ADA and ADAAG;

         (b)   That the Court issue a permanent injunction enjoining Defendant, GAZMAN

               HOLDINGS, L.L.C., from continuing their discriminatory practices;

         (c)   That the Court issue an Order requiring Defendant, GAZMAN HOLDINGS,

               L.L.C., to (i) remove the physical barriers to access and (ii) alter the Property to

               make it readily accessible to and useable by individuals with disabilities to the

               extent required by the ADA;



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 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and

 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: August 19, 2020

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
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